         Case:17-01058-EAG13 Doc#:136 Filed:05/03/22 Entered:05/03/22 16:24:19                                                           Desc:
                            Discharge of Debtor in Ch13 Page 1 of 2
Information to identify the case:
Debtor 1
                         ANTONIO RAFAEL ROSA COLOM                                        Social Security number or ITIN   xxx−xx−2585
                                                                                          EIN _ _−_ _ _ _ _ _ _
                         First Name   Middle Name    Last Name
Debtor 2                 BIBIAM LISETTE MALDONADO ROSA                                    Social Security number or ITIN   xxx−xx−0370
(Spouse, if filing)
                                                                                          EIN _ _−_ _ _ _ _ _ _
                         First Name   Middle Name    Last Name

United States Bankruptcy Court    District of Puerto Rico

Case number:          17−01058


Order of Discharge                                                                                                                               12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               ANTONIO RAFAEL ROSA COLOM                                        BIBIAM LISETTE MALDONADO ROSA
               aka ANTONIO R ROSA COLOM, aka ANTONIO ROSA,                      aka BIBIAM L MALDONADO ROSA, aka BIBIAM L
               aka ANTONIO RAFAEL ROSA, aka ANTONIO ROSA                        MALDOANDO, aka BIBIAM MALDONADO, aka BIBIAM
               COLOM                                                            MALDONADO ROSA

                                                                                By the
                                                                                court:

               May 3, 2022




Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                                   Most debts are discharged
                                                                                 Most debts are covered by the discharge, but not all.
                                                                                 Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                        liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                        In a case involving community property: Special rules
attempt to collect a discharged debt from the                                    protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                                spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                      case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                                Some debts are not discharged
debtors by mail, phone, or otherwise in any                                      Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                            ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                            ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                      ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                                U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                           523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                            the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                               For more information, see page 2




Form 3180W                                                       Chapter 13 Discharge                                            page 1
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                       Discharge of Debtor in Ch13 Page 2 of 2




    ♦ debts that the bankruptcy court has                         ♦ debts for restitution, or damages,
      decided or will decide are not discharged                     awarded in a civil action against the
      in this bankruptcy case;                                      debtor as a result of malicious or willful
                                                                    injury by the debtor that caused
                                                                    personal injury to an individual or the
    ♦ debts for most fines, penalties, forfeitures,                 death of an individual; and
      or criminal restitution obligations;

                                                                  ♦ debts for death or personal injury
    ♦ some debts which the debtors did not                          caused by operating a vehicle while
      properly list;                                                intoxicated.


    ♦ debts provided for under 11 U.S.C. §                 In addition, this discharge does not stop
      1322(b)(5) and on which the last payment             creditors from collecting from anyone else who
      or other transfer is due after the date on           is also liable on the debt, such as an insurance
      which the final payment under the plan               company or a person who cosigned or
      was due;                                             guaranteed a loan.

    ♦ debts for certain consumer purchases
      made after the bankruptcy case was filed if           This information is only a general
      obtaining the trustee's prior approval of             summary of a chapter 13 discharge; some
      incurring the debt was practicable but was            exceptions exist. Because the law is
      not obtained;                                         complicated, you should consult an
                                                            attorney to determine the exact effect of
                                                            the discharge in this case.




Form 3180W                                 Chapter 13 Discharge                              page 2
